







		NO. 12-09-00048-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: ALZA CORPORATION,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	PER CURIAM


	ALZA Corporation, relator, has filed a motion to dismiss this original proceeding.  In its
motion, ALZA represents that the parties have settled the underlying lawsuit, and that the trial court
has signed an order dismissing all claims with prejudice.  

	The trial court's order renders this proceeding moot.  Accordingly, ALZA's motion to
dismiss is granted, and its petition for writ of mandamus is dismissed.

Opinion delivered June 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.








(PUBLISH)


